           Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 1 of 7




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TAMARA JEAN FARRELL-SHANLEY,         )
an individual,                       )
                                     )               CASE NO.:
            Plaintiff,               )
vs.                                  )
                                     )
MCDONOUGH PROMENADE, LLC,            )
a Georgia Limited Liability Company, )
                                     )
            Defendant.               )
___________________________________/ )

                                   COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL-SHANLEY, through her undersigned

counsel, hereby files this Complaint and sues MCDONOUGH PROMENADE,

LLC, a Georgia Limited Liability Company, for injunctive relief, attorney’s fees

and costs pursuant to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH

DISABILITIES ACT” or “ADA”) and allege:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter




                                           1
           Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 2 of 7




referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.      Plaintiff, TAMARA JEAN FARRELL-SHANLEY, (hereinafter

referred to as “MRS. FARRELL-SHANLEY”), is a resident of Henry County,

Georgia.

      4.      MRS. FARRELL-SHANLEY is disabled and suffers from Congenital

Spastic Cerebral Palsy Diplegia. She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.      Due to her disability, MRS. FARRELL-SHANLEY is substantially

impaired in several major life activities, including walking.

      6.      Defendant, MCDONOUGH PROMENADE, LLC, a Georgia Limited

Liability Company, (hereinafter referred to as “DEFENDANT”), is registered to do

business in the State of Georgia. Upon information and belief, DEFENDANT is

the owner and/or operator of the real property and improvements which are the




                                          2
           Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 3 of 7



subject of this action, to wit: the Property, known as McDonough Promenade,

located at 1381-1401 Highway 20 W, McDonough, Georgia 30253.

      7.      All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Henry County, Georgia.

                   COUNT I - VIOLATION OF TITLE III OF THE
                     AMERICANS WITH DISABILITIES ACT

      8.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      9.      The Property, a shopping center, is open to the public and provides

goods and services to the public.

      10.     MRS. FARRELL-SHANLEY, who resides in close proximity to the

Property, has visited the Property and attempted to utilize the facilities offered at

the Property.

      11.     While at the Property, MRS. FARRELL-SHANLEY experienced

serious difficulty accessing the goods and utilizing the services therein due to the

architectural barriers discussed herein.

      12.     MRS. FARRELL-SHANLEY continues to desire to visit the Property,

but fears that she will continue to experience serious difficulty due to the barriers

discussed herein, which still exist.

      13.     MRS. FARRELL-SHANLEY plans to and will visit the property in


                                           3
         Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 4 of 7



the near future to utilize the goods and services offered thereon. However, but for

the barriers to access at the Property, Plaintiff would visit the Property more often.

      14.    Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R.

§ 36.302 et. seq. and is discriminating against the Plaintiff due to Defendant’s

failure to provide and/or correct, inter alia, the following barriers to access which

Plaintiff personally observed and which hindered her access:

             A.     Plaintiff encountered inaccessible parking spaces designated for

disabled use near China Express, El Agave Mexican Restaurant and DC Nails

stores due to curb ramps which protrude into the access aisles of each of the

disabled use parking spaces;

             B.     Plaintiff encountered inaccessible parking spaces designated for

disabled use near China Express, El Agave Mexican Restaurant and DC Nails

stores due to signage mounted very low where it is obstructed by parked vehicles.

             C.     Plaintiff encountered an inaccessible sidewalk near Dent First

Dental Care due to a running slope in excess of 1:20 and a rise of over six inches

but a lack of handrails.

             D.     Plaintiff encountered inaccessible curb ramps throughout the

Property due to excessive slopes. These curb ramps also improperly protrude into

the access aisle of the disabled use parking spaces as noted above.

      15.    Defendant either does not have a policy to assist people with

                                          4
         Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 5 of 7



disabilities or refuses to enforce such a policy if it does exist.

      16.    Independent of her intent to return as a patron to the Property,

Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied.

      17.    Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an

undue burden on Defendant.

      18.    Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      19.    The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendant.

      WHEREFORE, the Plaintiff demands judgment against MCDONOUGH

PROMENADE, LLC, and requests the following injunctive and declaratory relief:

             A.     That the Court declares that the Property owned and

                    operated by DEFENDANT is in violation of the ADA;

             B.     That the Court enter an Order directing DEFENDANT to

                    alter its property to make it accessible and useable by

                    individuals with disabilities to the full extent required by

                    Title III of the ADA;

                                            5
Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 6 of 7



   C.    That the Court enter an Order directing DEFENDANT to

         evaluate and neutralize its policies and procedures

         towards persons with disabilities for such reasonable time

         so as to allow DEFENDANT to undertake and complete

         corrective procedures;

   D.    That the Court award reasonable attorney’s fees, costs

         (including expert fees), and other expenses of suit, to the

         Plaintiff; and

   E.    That the Court award such other and further relief as it

         deems necessary, just and proper.

                      Respectfully Submitted,

                      KU & MUSSMAN, P.A.
                      Attorneys for Plaintiff
                      18501 Pines Blvd, Suite 209-A
                      Pembroke Pines, FL 33029
                      Tel: (305) 891-1322
                      Fax: (305) 891-4512


                      By: /s/ John A. Moore        .




                             KU & MUSSMAN, P.A.
                             Attorney for Plaintiff
                             John A. Moore, Esq.
                             Georgia Bar No.: 519792
                             Of Counsel
                             The Moore Law Group, LLC
                             1745 Martin Luther King Jr., Drive
                             Atlanta, GA 30314
                             Tel.: (678) 288-5601
                               6
Case 1:18-cv-05288-CAP Document 1 Filed 11/16/18 Page 7 of 7



                           Fax: (888) 553-0071
                           Email: jmoore@moorelawllc.com




                             7
